                                                Case 20-63562-pmb                        Doc 32    Filed 07/30/21 Entered 07/30/21 17:26:09                                       Desc
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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    20-63562-PMB                                                                                                                       Trustee Name:        (300320) S. Gregory Hays
Case Name:        DENNIS, TRACY                                                                                                                 Date Filed (f) or Converted (c): 02/28/2020 (f)
                                                                                                                                                § 341(a) Meeting Date:       04/07/2020
For Period Ending:        06/30/2021                                                                                                            Claims Bar Date: 08/03/2020

                                                     1                                                  2                              3                            4                      5                          6

                                            Asset Description                                        Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                          Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1       6885 Estepona St, Atlanta, GA 30349                                                             169,990.00                               0.00                                              0.00                     0.00
            Trustee filed adversary # 20-06079 (See Asset # 9) to avoid interest of United
            Community Bank in property. Property to be abandoned per terms of settlement in
            adversary # 20-06079 upon approval of settlement agreement.

    2       2015 Mercedes CLA 250                                                                            14,500.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed by Trustee. See docket # 22.

    3       Furniture                                                                                         2,000.00                               0.00                                              0.00                        FA

    4       Electronics                                                                                          200.00                              0.00                                              0.00                        FA

    5       Clothes                                                                                              250.00                              0.00                                              0.00                        FA

    6       Checking: Navy Federal Credit Union                                                                  100.00                              0.00                                              0.00                        FA

    7       Checking: Unite Community Bank                                                                       400.00                              0.00                                              0.00                        FA

    8       Dog                                                                                                  100.00                              0.00           OA                                 0.00                        FA
            Notice of abandonment filed by Trustee. See docket # 22.

    9       Adversary # 20-06079 against United Community Bank (u)                                                 1.00                              1.00                                              0.00                85,000.00
            Complaint filed by Trustee to avoid transfer of interest in real property. See asset
            # 1. Settled through mediation for $85k payment from Defendant. 7/28/21 - Order
            approving settlement of adversary # 20-06079 entered and on 7/29/21 the
            settlement payment was received.

    9       Assets               Totals        (Excluding unknown values)                               $187,541.00                                $1.00                                           $0.00                  $85,000.00
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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case No.:    20-63562-PMB                                                                                                   Trustee Name:      (300320) S. Gregory Hays
Case Name:     DENNIS, TRACY                                                                                                Date Filed (f) or Converted (c): 02/28/2020 (f)
                                                                                                                            § 341(a) Meeting Date:   04/07/2020
For Period Ending:     06/30/2021                                                                                           Claims Bar Date: 08/03/2020


      Major Activities Affecting Case Closing:
                                    5/8/20 - Trustee filed adversary # 20-06079-pmb against United Community Bank to avoid transfer of interest in real property. Answer due from United
                                    Community Bank by August 7, 2020. If the Trustee is successful, the real property will be free and clear of UCB's lien.

                                    7/1/2021 - Trustee filed his Motion for Order Authorizing Settlement between Trustee and United Community Bank under Rule 9019 of the Federal
                                    Rules of Bankruptcy Procedure requesting authority to settle the matter for a $85,000 payment by UCB to the Trustee.

                                    7/28/21 - Order approving settlement of adversary # 20-06079 entered.

                                    7/29/21 - Settlement payment received.

                                    7/29/21 - The Trustee anticipates filing final estate tax returns and submitting his TFR proposing a significant distribution to unsecured creditors in the
                                    coming months.

      Initial Projected Date Of Final Report (TFR):            12/31/2022                                  Current Projected Date Of Final Report (TFR):               09/30/2021


             07/30/2021                                                                                      /s/S. Gregory Hays

                Date                                                                                         S. Gregory Hays
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                                                                Cash Receipts And Disbursements Record
Case No.:                      20-63562-PMB                                                       Trustee Name:                    S. Gregory Hays (300320)
Case Name:                     DENNIS, TRACY                                                      Bank Name:                       East West Bank
Taxpayer ID #:                 **-***6045                                                         Account #:                       ******0414 Checking
For Period Ending:             06/30/2021                                                         Blanket Bond (per case limit):   $31,525,000.00
                                                                                                  Separate Bond (if applicable):   N/A

    1            2                              3                                                  4                                           5                       6                      7

  Trans.    Check or                  Paid To / Received From                  Description of Transaction                   Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                        Tran. Code          $                        $

(No transactions on file for this period)
                                                                   COLUMN TOTALS                                                                         0.00                    0.00                  $0.00
                                                                          Less: Bank Transfers/CDs                                                       0.00                    0.00
                                                                   Subtotal                                                                              0.00                    0.00
                                                                          Less: Payments to Debtors                                                                              0.00

                                                                   NET Receipts / Disbursements                                                        $0.00                  $0.00




{ } Asset Reference(s)                                                                                                                                          ! - transaction has not been cleared
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                                                        Cash Receipts And Disbursements Record
Case No.:                  20-63562-PMB                                           Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 DENNIS, TRACY                                          Bank Name:                    East West Bank
Taxpayer ID #:             **-***6045                                             Account #:                    ******0414 Checking
For Period Ending:         06/30/2021                                             Blanket Bond (per case limit): $31,525,000.00
                                                                                  Separate Bond (if applicable): N/A


                                        Net Receipts:            $0.00
                           Plus Gross Adjustments:               $0.00
                         Less Payments to Debtor:                $0.00
                 Less Other Noncompensable Items:                $0.00

                                          Net Estate:            $0.00




                                                               TOTAL - ALL ACCOUNTS                   NET DEPOSITS     NET DISBURSEMENTS ACCOUNT BALANCES
                                                               ******0414 Checking                               $0.00               $0.00            $0.00

                                                                                                                       $0.00                 $0.00         $0.00
